Case 1:03-cv-01882-SEB-JMS     Document 227     Filed 09/15/05   Page 1 of 3 PageID #:
                                      5884



                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF INDIANA
                         INDIANAPOLIS DIVISION


 TODD DAVIDSON,                            )
                                           )
             Plaintiff,                    )
                                           )      1:03-CV-1882-SEB-JPG
       vs.                                 )
                                           )
 CITIZENS GAS & COKE UTILITY,              )
                                           )
             Defendant.                    )


                                        ENTRY

       This cause is before the undersigned Magistrate Judge on the Plaintiffs’

 Emergency Motion to Reconsider Protective Order, on Defendant’s Objection

 thereto, and on Plaintiffs’ Reply. This Motion was referred to this Magistrate

 Judge by Order of Judge Sarah Evans Barker on January 11, 2005. A telephone

 hearing was conducted with counsel on January 11, 2005 and counsel’s arguments

 heard and considered. The Court, having considered the foregoing and being duly

 advised, does now submit its ruling.

       Since this motion was argued to the Court intervening events have rendered

 the Motion largely moot. The Court has ordered the production of the documents

 sought by subpoena. Leave has been granted to depose Dr. Guay after the
Case 1:03-cv-01882-SEB-JMS       Document 227     Filed 09/15/05   Page 2 of 3 PageID #:
                                        5885



 deadline for completion of discovery. That deposition is tentatively scheduled for

 October 10, 11 or 17th.

       The question of sanctions is the only matter remaining to be decided. This

 Magistrate Judge abhors sanctions, but is bound to impose them in an appropriate

 case under the Rules. This is such a case.

       Plaintiffs sought pre-emptive self-help relief at a time when motions seeking

 the same relief were pending before the Court. The undersigned regrets the delay

 in his ruling. That does not justify the scheduling of this deposition. Moreover,

 the scheduling was on inadequate notice for an expert’s deposition and counsel had

 been advised of Defendant’s objection. Defendant’s Motion for Protective Order

 was justified as was the Court’s Entry granting it on an expedited basis. The time

 counsel spent preparing the Motion is compensable by Plaintiffs’ counsel. The

 time of three hours is appropriate. The hourly rate of $320 is asserted to be

 counsel’s regular hourly rate. Parenthetically, it should be observed that this is not

 necessarily the last time the Court may be called upon to approve an hourly rate for

 one or the other of counsel in this case.




                                             2
Case 1:03-cv-01882-SEB-JMS     Document 227     Filed 09/15/05   Page 3 of 3 PageID #:
                                      5886



       Accordingly, the Court denies Plaintiffs’ Emergency Motion to Reconsider

 and sanctions Plaintiffs’ counsel in the amount of $960.00.
                    15th       SEPTEMBER
       DATED this ____ day of ______________, 2005.




                                    _______________________________
                                     JOHN P. GODICH, MAGISTRATE JUDGE
                                     United States District Court
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